    Case: 1:17-cv-09011 Document #: 29 Filed: 07/18/18 Page 1 of 3 PageID #:147



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


CARMEN CONSOLINO, et. al.,                     )
              Plaintiffs,                      ) Case No. 17 CV 09011
                                               )
       v.                                      ) Honorable Judge Robert M. Dow, Jr.
                                               ) Magistrate Sidney I. Schenkier
THOMAS J. DART, et. al.                        )
                 Defendants.                   )

DEFENDANTS, COUNTY OF COOK’s MOTION TO ENLARGE TIME WITHIN WHICH
  TO OBTAIN OUTSIDE COUNSEL AND ANSWER OR OTHERWISE PLEAD THE
                SECOND AMENDED COMPLAINT AT LAW

       NOW COMES Defendant, the County of Cook, by its counsel, Assistant State’s

Attorney, Megan E. Inskeep, and moves this Court for an Order to enlarge the time for

it to obtain outside counsel and to answer the pending Second Amended Complaint at

Law, pursuant to Federal Rule 6(b)(1)(A.) In support of said motion, defendant states

as follows:

       1.     On March 16, 2018 the undersigned filed her appearance for all

              Defendants: Thomas J. Dart, Zelda Whittler, and the County of Cook.

              [Dkt. 12]

       2.     In preparing responsive pleadings, the undersigned identified a possible

              conflict with representing the Cook County Sheriff’s Office defendants:

              Thomas Dart and Zelda Whittler. After obtaining a continuance within

              which to answer or otherwise plead to the (then current) First Amended

              Complaint [Dkt. 20], the State’s Attorney’s Office petitioned the state

              court in Chancery Division for the appointment of a Special Assistant

              State’s Attorney pursuant to 55 ILCS5/3-9005 and 9008(a-10) and the

              Cook County Guidelines for Special Assistant State’s Attorney.
Case: 1:17-cv-09011 Document #: 29 Filed: 07/18/18 Page 2 of 3 PageID #:148



  3.    On June 22, 2018, the firm of Leinenweber, Baroni & Daffada, LLC. was

        appointed Special State’s Attorney for defendants Thomas J. Dart and

        Zelda Whittler. Ex. A.

  4.    On June 26, 2018, Leinenweber, Baroni & Daffada, LLC. filed

        appearances for Thomas J. Dart and Zelda Whittler in the instant

        matter. [Dkt. 24, 25]

  5.    It has now become apparent that the Civil Actions Bureau of the State’s

        Attorney’s Office has a conflict in representing the County of Cook.

        Further analysis shows that the Conflicts Unit cannot take on the case,

        as it represents several of the plaintiff’s in the instant matter in various

        Civil Rights cases pending in Federal Court. As such, a Special State’s

        Attorney needs to be appointed for the County of Cook as well.

  6.    On July 16, 2018, Plaintiffs filed their Motion for Leave to File a Second

        Amended Complaint at Law. [Dkt. 26] Leave was granted on July 18,

        2018.    [Dkt. 28] Federal Rule 15 requires defendant to answer or

        otherwise plead in 14 days (August 2, 2018.)

  7.    Pursuant to Federal Rule 6 (b)(1)(A), the court may enlarge the time to file

        an answer for good cause.

  8.    According to the King & Spaulding Report (Ex. B.), a strict process must

        now be undertaken for the appointment of all Special State’s Attorneys

        when a conflict of interest is identified.   This includes a Request for

        Proposal listing various firms, those firms returning proposals for

        representation with bids for services, interviewing the firms, and the

        choosing of an appropriate firm to represent the County entity. Once an

        acceptable firm is identified, the Municipal Unit must then file a Petition
   Case: 1:17-cv-09011 Document #: 29 Filed: 07/18/18 Page 3 of 3 PageID #:149



            to Appoint Special State’s Attorney in the Chancery Division of state

            court. This entire process will take a minimum of six (6) weeks. New

            counsel would then need to review the file and materials in order to

            properly answer or otherwise plead to Plaintiff’s Second Amended

            Complaint at Law, as well as answer discovery pursuant to this Court’s

            participation in the MIDP program.

      9.    The undersigned can no longer work substantively on the file due to the

            identified conflict.

      10.   This request is made in good faith and is not made to frustrate the Court,

            delay matters, or prejudice any party.

      11.   To deny this request would severely prejudice the County, requiring it to

            answer or plead to the Second Amended Complaint without benefit of

            counsel.

      WHEREFORE, Defendant, the County of Cook, respectfully request this

Honorable Court enlarge the time for it to answer the pending Second Amended

Complaint at Law, up to and including September 5, 2018.

                                             Respectfully Submitted,


                                             /s/ Megan Inskeep
                                       By:   ______________________
                                             Megan Inskeep
                                             Assistant State’s Attorney
                                             536 Richard J. Daley Center
                                             Chicago, Illinois 60602
                                             (312) 603-1902
                                             megan.inskeep@cookcountyil.gov
